Case 2:03-cr-20433-.]DB Document 62 Filed 06/06/05 Page 1 of 2 Page|D 103

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UNITED sTATES DISTRICT cOURT '
FOR THE WESTERN DISTRICT OF TENNESSEE 355-1 -5 PH 5= 51;

 

 

WESTERN DIVISION
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UNITED sTATES or AMERICA, ; ,,“~'i§l"(~i~l§‘g§j §.f§§‘p§,‘§
Case No. CR03-20433BV
Plaintiff,
v. : Judge: Breen
GEORGE KINDNESS and AMSCOT
MEDICAL LABS, INC.
Defendants.
ORDER ()F COURT
And now, to-Wit, this (=> day of`June, 2005, upon consideration of the Motion for

Continuance ot`Plea Hcaring filed by the Defendant, it is hereby ordered, adjudged, and decreed that
Said Motion be and the same hereby is GRANTED. The plea hearing is rescheduled and will take

place on July Q, 2005 at l 116 g.m.

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Dated: L, L O>
.D NIEL BREEN,JUDEE

 

 

  
 

ENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
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Honorable J. Breen
US DISTRICT COURT

